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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 SANTANDER CONSUMER USA, INC.,                     §
 Plaintiff,                                        §
                                                   §
                                                   §
 v.                                                §                          SA-21-CV-00172-OLG
                                                   §
                                                   §
 THE CITY OF SAN ANTONIO, ALANIS                   §
 WRECKER SERVICE, LLC AND                          §
 ALEJANDRO ALANIS,                                 §
 Defendants,                                       §

                      DEFENDANT THE CITY OF SAN ANTONIO’S
                    ADR REPORT PURSUANT TO LOCAL RULE CV-88

TO THE HONORABLE ORLANDO L. GARCIA:

       NOW COMES Defendant, the City of San Antonio, in the above styled and numbered

cause and files this its ADR Report Pursuant to Local Rule CV-88. Defendant will respectfully

show the following:

1.     Pursuant to Local Rule CV-88, Defendant submits this Alternative Dispute Resolution

(ADR) report. No settlement negotiations have been entered into between the parties in this matter.

If any settlement negotiations are to be entered into in the future, undersigned counsel is the person

primarily responsible for settlement negotiations. However, depending on the nature of the

settlement, City Council or another committee may have to approve the proposed settlement

agreement. After evaluation, Defendant does not consider ADR to be appropriate at this time.

Undersigned, by signing below, certifies he has advised Defendant of the ADR procedures

available in this Court.
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        In the event mediation becomes appropriate in this matter, the parties have agreed to use

the mediation services of Rene Diaz. Mr. Diaz’s contact information is as follows: TETCO Center

Building, 1100 N.E. Loop 410, Suite 200, San Antonio, Texas 78209, 210-226-4500.

                                                    Respectfully submitted,
                                                    FITZPATRICK & KOSANOVICH, P.C.
                                                    P.O. Box 831121
                                                    San Antonio, Texas 78283-1121
                                                    (210) 408-6793
                                                    (210) 408-6797 - Facsimile

                                                    ________/s/__________________________
                                                    Mark Kosanovich
                                                    SBN: 00788754
                                                    mk@fitzkoslaw.com




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                                       CERTIFICATE OF SERVICE
            I hereby certify that on the 30th day of June 2021, I electronically filed the foregoing
    with the Clerk of Court using the CM/ECF system which will send notification of such filing
    to the following:


 Everett New
 New & Hall PLLC
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 San Antonio, Texas 78201
 mas@sanchezwilson.com
                                                               ________/s/__________________________
                                                               MARK KOSANOVICH




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